                                                                     MEMO ENDORSED
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                    IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

JOHN DOES 1 THROUGH 7,

                 Plaintiffs/Judgment Creditors,

v.                                                    Misc Action No. 1:20-mc-00740-KPF

THE TALIBAN, AL-QAEDA,
and THE HAQQANI NETWORK,

          Defendants/Judgment Debtors.
_________________________________

                                   NOTICE OF SERVICE

         Background

         On April 30 2021, Plaintiffs, who hold an unsatisfied judgment against

Defendant/Judgment Debtors (Defendants) for injuries suffered in a terrorist

attack, filed an Ex-Parte Motion for Writs of Execution (D.E. 12), requesting that

the Court issue writs directed at blocked assets belonging to the fugitive Jose

Samark Lopez Bello (“Lopez Bello”) and his alleged front company, Yakima

Trading Corporation (“Yakima”). Plaintiffs seek to recover their judgment against

the blocked assets of these alleged agencies and/or instrumentalities of the

Defendants/Judgment Debtors pursuant to the unique collection provisions of the

Terrorism Risk Insurance Act, “TRIA”.1 The requested writs will not result in the

1   TRIA’s collection provision provides:
        Notwithstanding any other provision of law, and except as provided in subsection (b), in
        every case in which a person has obtained a judgment against a terrorist party on a claim


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immediate execution against blocked assets, but would merely be the first step in a

process to have those assets turned over. The writs also would not result in any

restraint on the assets, as the assets are already blocked. The service of the writs on

the financial institutions holding the blocked assets would perform the important

function, however, of establishing the order of priority amongst competing

judgment creditors (who typically file and obtain the writs ex parte in TRIA

execution proceedings, with final determinations of the availability of the funds

made later).

       On May 5, 2021, this Court ordered Plaintiffs/Judgment Creditors to serve

their moving papers seeking the issuance of the writs on Lopez Bello and Yakima.

D.E. 12.

       Service

       Mr. Lopez Bello is an international fugitive for whom the U.S. Government

offers a $5 million reward (See Wanted Poster and State Department Press Release,

Composite Exhibit A). At the same time, he and Yakima have affirmatively acted




       based upon an act of terrorism, or for which a terrorist party is not immune under section
       1605(a)(7) of title 28, United States Code, the blocked assets of that terrorist party
       (including the blocked assets of any agency or instrumentality of that terrorist party) shall
       be subject to execution or attachment in aid of execution in order to satisfy such
       judgment to the extent of any compensatory damages for which such terrorist party has
       been adjudged liable.
Terrorism Risk Insurance Act of 2002, 107 P.L. 297, 116 Stat. 2322



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to assert their rights before two federal courts.2 For these and other reasons,3

undersigned counsel first reached out to Mr. Adam Fels, who represented Lopez

Bello and Yakima in the Florida action. After some back and forth, Mr. Fels

ultimately advised counsel for Plaintiffs to confer with Mr. Jeffrey Scott, who

currently represents Lopez Bello and Yakima in the New York action pending

before the Honorable Lorna G. Schofield, which concerns the same assets at issue

here.

        On June 3, 2021, do Campo & Thornton, P.A. sent the Motion and this

Court’s order by electronic mail to Mr. Jeffrey Scott at jscott@archerlaw.com, who

acknowledged receipt, but who declined to accept service. On June 8, 2021, do

Campo & Thornton, P.A. sent docket entries 9-11 by electronic mail to Mr. Scott,

who again acknowledged receipt.

        Undersigned continues to investigate other potential avenues for service, but

believes none to be available for Mr. Lopez Bello. Meanwhile, Mr. Scott has


2See Stansell v. FARC, et al., Case No. 1:16-mc-00405 in the United States District Court for the
Southern District of New York and Stansell v. FARC, et al., Case No. 19-cv-20896 in the United
States District Court for the Southern District of Florida.
3 Other reasons include that
1) Lopez Bello was last seen in Venezuela, and while Venezuela is a member of the Hague
Service Convention, the Venezuelan legal apparatus, which research reveals is the exclusive
method for service pursuant to it, is currently not functioning. Thus, even if he were a law
abiding Venezuelan citizen instead of an international outlaw, Lopez Bello could not be formally
served;
2) Lopez Bello is allied at the highest levels of the Venezuelan narco-state, which controls that
Venezuelan media; and
3) At issue is service of a motion, not formal service of process of a summons and complaint.


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corresponded with undersigned concerning a proposed amended complaint that

would name Plaintiffs as defendants in the matter pending before the Honorable

Lorna G. Schofield due to Plaintiffs’ potential interest in the blocked funds. Mr.

Scott has indicated opposition to the proposed amendment, which indicates to

undersigned that he is actively representing his clients and thus in communication

with them.

      There is ample reason to conclude that Lopez Bello and Yakima have

received actual notice of the instant writ proceedings, and that they can be further

apprised of future proceedings by serving Mr. Scott at his e-mail address. As such,

Plaintiffs respectfully request that the Court either order the writs to be issued, or

order Lopez Bello and Yakima to respond to the Motion, which order can be

communicated electronically.

                                               Respectfully submitted,

                                               do Campo & Thornton, P.A.
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                                               Miami, Florida 33131
                                               Telephone: (305) 358-6600
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                                               By:    s/ Orlando do Campo
                                                      Orlando do Campo
                                                      Bar Code: OD1969
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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 14, 2021, I electronically filed the

    foregoing document with the Clerk of the Court using CM/ECF.

                                              s/ Orlando do Campo
                                               Orlando do Campo
The Court is in receipt of Plaintiffs' request to deem Respondents
Samark Jose Lopez Bello and Yakima Trading Corporation to have actual
notice of the proceedings in this case through service on an attorney
purportedly representing Respondents in unrelated proceedings. (Dkt.
#13). Notably, that attorney has refused to accept service on behalf of
Respondents in the instant case. The Court does not have the same
confidence as Plaintiffs that the proffered facts "indicate[] that
[counsel] is ... in communication" with Respondents, much less that
there is "ample reason" for the Court to conclude that Respondents "have
received actual notice of the instant writ proceedings." Additionally,
given that Respondents have retained counsel and appeared in other
actions in this District, the Court does not believe, on this record,
that it is appropriate to waive the requirements of Federal Rules of
Civil Procedure 4 and 5. Accordingly, Plaintiff's application is DENIED.



                                        SO ORDERED.
Dated:    June 15, 2021
          New York, New York


                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE




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